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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 8:06CR116-003

                                                        USM Number 20884-047

EVEREADA KOURIS
                       Defendant
                                                        JERRY M. HUG

                                                        Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT was found guilty on counts I of the Fifth Superseding Indictment after a jury trial
on October 25, 2007. The Court found the property in count IX should be forfeited to the United
States with the sole exception of the vehicle identified as a 2003 Buick Rendezvous.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                            Date Offense              Count
         Title, Section & Nature of Offense                  Concluded               Numbers


 21:846 CONSPIRACY TO POSSESS WITH INTENT                June 20, 2006                 1sss
 TO DISTRIBUTE MARIJUANA

 21:853 FORFEITURE                                       June 26, 2006                 9sss

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Second Superseding Indictment, Third Superseding Indictment and Fourth Superseding
Indictment are dismissed on the motion of the United States as to this Defendant only.

Final order of forfeiture as to Count IX forthcoming.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.
                                                                Date of Imposition of Sentence:
                                                                                January 28, 2008

                                                                         s/Laurie Smith Camp
                                                                         United States District Judge

                                                                            February 5, 2008
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 135 months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

2.      That the defendant be incarcerated in a federal facility as close to Atlanta, Georgia as
        possible.

3.      Defendant shall be given credit for time served.

The defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
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13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.



                             SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
        administer any alcohol, just the same as any other narcotic or controlled substance.

3.      The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
        a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

4.      The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
        or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the probation officer.

5.      The defendant shall participate in a victim awareness program as directed by the probation officer.
        Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
        amount determined by the probation officer.

6.      The defendant shall provide the probation officer with access to any requested financial information.

7.      Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days
        of release on supervised release and at least two (2) periodic drug tests thereafter to determine
        whether the defendant is using a controlled substance. Further, the defendant shall submit to such
        testing as requested by any probation officer to detect the presence of alcohol or controlled
        substances in the defendant’s body fluids and to determine whether the defendant has used any of
        those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
        of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
        to be determined by the probation officer.

8.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
        Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
        thereafter, as directed by the probation officer.



Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
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                             CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution

             $100.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                             FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS
The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

          The defendant shall forfeit the defendant’s interest in the following property to the United
States:          See Attachment A
CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
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                                               ATTACHMENT A

A) UNITED STATES CURRENCY:

        1) $2,562.00 in United States currency recovered from Charmar Brown on February, 6, 2005;

        2) $47,430.00 in United States currency seized from Dales Giles and Charmar Brown on March 20, 2005;

        3) $2,588.00 in United States currency seized from Charmar Brown on April 11, 2005;

        4) $12,647.00 in United States currency seized from Dale Giles on May 22, 2005;

        5) $358,030.00 in United States currency recovered from Milt’s Mini Storage unit 246 on April 3, 2006;

        6) $164,900.00 in United States currency recovered from Crown Point Mini Storage unit 135 on April 4, 2006;

        7) $81,000.00 in United States currency recovered from 7006 ½ Maple Street on April 4, 2006;

        8) $22,990.00 in United States currency recovered from 2629 North 130th Street on April 4, 2006;

        9) $2,421.00 in United States currency recovered from Dale Giles on April 4, 2006;

        10) $16,000.00 in United States currency recovered on April 14, 2006;

        11) $800.00 in United States currency recovered from a Buick Rendezvous on September
        14, 2006;

B) VEHICLES:

        12) A 2005 Dodge Magnum, VIN 2D4GZ58295H623338, registered to Lamont Giles recovered from 7006 ½
        Maple on April 4, 2006;

        13) A 2006 BMW 750 Li, VIN WBAHN83526DT35866 recovered from 7006 ½ Maple on April 4, 2006;

        14) A 2006 BMW 750 Li, VIN WBAHN83586DT35953, recovered from 7006 ½ Maple on April 4, 2006;

        15) A 2004 Chevrolet Silverado K1500, VIN 2GCEK19T641181036 registered to Chamar/Audrey Brown
        recovered from 7006 ½ Maple on April 4, 2006;

        16) A 2003 Chevrolet K1500 Suburban, VIN 1GNFK16Z33J233442 registered to 40 Deuce Music Corp.
        recovered from 7006 ½ Maple on April 4, 2006;

        17) A 2004 Chevrolet Corvette, VIN 1G1YY22G645112921 recovered from 7006 ½ Maple on April 4, 2006;

        18) 2005 Dodge Durango, VIN 1D4HB48N55F551276 registered to Evereada Kouris recovered from 72nd
        and Cornhusker on April 4, 2006;

        19) A 1973 Chevrolet Caprice, VIN 1L57H3S119839 registered to Dale Lamont Giles recovered from Milt’s
        Mini Storage unit 245 on April 3, 2006;

        20) A 1985 Cadillac El Dorado, VIN 1G6EL5782FE648329 recovered from Milt’s Mini Storage unit 246 on
        April 3, 2006;

        21) 2002 Chevrolet K1500 Suburban, VIN 3GNFK16Z02G254524 registered to Charmar Brown recovered
        from 2629 N. 130th on April 4, 2006;

        22) A 2005 Cadillac Escalade, VIN 3GYFK66N45G157635 registered to Dale Giles recovered in driveway
        at 6053 Ellison on April 4, 2006;
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        23) 1973 Chevrolet Caprice Convertible, VIN 1N67R3S236208 recovered from 7603 Crown Point Ave. #292
        on April 4, 2006;

        24) A 1984 Dodge Ram 150 Van, VIN 2B7FB13H9EK247549 recovered from 7603 Crown Point Ave. #350
        on April 4, 2006;

        25) 1966 Chevrolet Impala, VIN 1643768S241082 recovered from PS Auto Body, 2832 N. 70th Ave., on April
        6, 2006;

        26) 1972 Chevrolet Monte Carlo, VIN 1H57J2K509758 recovered from PS Auto Body, 2832 N. 70th Ave.,
        on April 6, 2006;

        27) 2003 Chevrolet Monte Carlo, VIN 2G1WW12E539234113 registered to Latasha Willis recovered from
        Milt’s Mini Storage unit 427 on April 8, 2006;

        28) 2000 Ford F-150, VIN 1FTRX18W0YKA54559 registered to K-Nown LLC recovered from Dale Giles
        and Lavelle Giles on 60th and Ames on April 4, 2006;

        29) A 2003 Chevrolet Silverado K1500, VIN 2GCEK19N631403882 registered to Dale Lamont Giles;

        30) 2000 Buick LaSabre VIN 1G4HR54KXYU141529 registered to Dale Giles;




C) FINANCIAL ACCOUNTS:

        31) Edward Jones Account # 62309705 in name of Charmar A. Brown with a balance as of April 28, 2006, of
        $1,264.14;

        32) Edward Jones Account # 62309881 in name of Charmar A. Brown with a balance as of April 28, 2006,
        of $1,576.93;

        33) Edward Jones Account # 62309882 in name of Charmar A. Brown with a balance as of April 28, 2006,
        of $1,576.93;

        34) US Bank Account # 2-630-9900-6839 in name of Dale Giles with a balance as of April 18, 2006, of
        $662.20;

        35) US Bank Account # 1-508-9093-4758 in name of K-Nown (LLC) with a balance as of April 18, 2006, of
        $298.16;

        36) All interest Dale Giles has in any real estate commissions paid to or through Dan Swartz Realty and an
        escrow account with Talon Group, 3923 S. McClintock St., Ste. 410, Tempe, AZ 85282 for real property
        located at 11733 W. Hadley St., Avondale, AZ 85323, in the amount of $28,543.00;

        39) All interest Dale Giles has in a cashiers check issued from U.S. Bank representing the proceeds of closed
        account # 1-508-9093-4691 in the amount of $2,888.11;

        40) All interest Charmar Brown has in a cashiers check issued from U.S. Bank representing the proceeds of
        closed account # 1-508-7050-0074 in the amount of $542.36;

D) REAL PROPERTY:

        41) all right, title and interest Dale Giles may hold to the real property described as Lot 12, West Keystone
        Park, an addition to the City of Omaha, as surveyed, platted and recorded in Douglas County, Nebraska,
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        commonly known as 3811 N. 88 Ave., Omaha, Nebraska;

        42) all right, title and interest Dale Giles and Charmar Brown may hold to the real property described as the
        East 35 feet of the South 110 Feet of Tax Lot 17, in Section 3, Township 15 North, Range 13 East of the 6th
        P.M., an Addition to the city of Omaha, as surveyed, platted, and recorded in Douglas County, Nebraska,
        commonly known as 2118 Ames Avenue, Omaha, Nebraska;

        43) all right, title and interest Dale Giles and Charmar Brown may hold to the real property described as Lots
        1, 2, 3, 4, 5 and 6, Block 14, in Weir Crest, an addition to the City of Omaha, as surveyed, platted and recorded
        in Douglas County, Nebraska, except a triangular parcel of land located in the Northeast corner of Lot 1, Block
        14, in Weir Crest, deeded to the City of Omaha in Warranty Deed filed March 10, 1977 in Book 1564 at Page
        405 of the Deed Records of Douglas County, Nebraska, described as follows: Beginning at the Northeast corner
        of Lot 1; thence South 5 feet along the East property line of Lot 1; thence Northwesterly 7.07 feet to a point
        on the North line of Lot 1, said point being 5 feet West of the Northeast corner of Lot 1; thence East 5 feet
        along the North property line of Lot 1, to the point of beginning, commonly known as 4816 S. 60th St., Omaha,
        Nebraska, and Lots 42 and 43 in Block 14, in Weir Crest, an addition to the City of Omaha, as surveyed, platted
        and recorded in Douglas County, Nebraska; and Lots 44, 45, 46, 47 and 48, in Block 14, in Weir Crest, an
        addition to the City of Omaha, as surveyed, platted and recorded in Douglas County, Nebraska, except a
        triangular parcel of land located in the Southeast corner of Lot 48, Block 14, in Weir Crest, deeded to the City
        of Omaha in Warranty Deed filed March 10, 1977 in Book 1564 at Page 402, described as follows: Beginning
        at the Southeast corner of Lot 48; thence North 5 feet along the East property line of Lot 48; thence
        Southwesterly 7.07 feet to a point on the South property line of Lot 48; thence East 5 feet along the South
        property line of Lot 48, to the point of beginning, commonly known as 4824 S. 60th St., Omaha, Nebraska;

E) MISCELLANEOUS:

        44) recording equipment including but not limited to speakers, monitors, keyboards, computers, recorders, and
        microphones seized from 4816 S. 60th St., on April 4, 2006;

        45) a Magnavox 50 inch television recovered from 1214 Applewood Drive, G208, on April 4, 2006;

        46) a JVC 56 inch wide screen projection television recovered from 7603 Crown Point Ave., #135 on April 4,
        2006;

        47) Any and all jewelry including but not limited to three watches recovered from 1214 Applewood Drive,
        G208, on April 4, 2006;

        48) Any and all jewelry including but not limited to diamond earrings and ring taken from Evereada Kouris on
        or about June 26, 2006; and

        49) Any and all jewelry including but not limited to gold chains, rings, watch, bracelet and a diamond pendant
        recovered from 3547 North 40th Avenue on June 26, 2006.
